        Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 1 of 13




 1 BRYAN H. HECKENLIVELY (State Bar No. 279140)
   Bryan.heckenlively@mto.com
 2 RACHEL M. SCHIFF (State Bar No. 336643)
   Rachel.schiff@mto.com
 3 MUNGER, TOLLES & OLSON LLP
   560 Mission Street, Twenty-Seventh Floor
 4 San Francisco, California 94105-2907
   Telephone:    (415) 512-4000
 5 Facsimile:    (415) 512-4077

 6 Attorneys for Defendants

 7

 8                                UNITED STATES DISTRICT COURT

 9                 NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
10

11 ELIZABETH WEISS,                                     Case No. 5:22-cv-00641-BLF

12                  Plaintiff,                          STIPULATED PROTECTIVE ORDER
                                                        AS MODIFIED BY THE COURT
13          vs.
                                                        Judge:    Hon. Beth Labson Freeman
14 STEPHEN PEREZ, in his capacity as
   President of San Jose University; et al.,
15
                  Defendants.
16

17

18 I.       PURPOSES AND LIMITATIONS

19          Disclosure and discovery activity in this action are likely to involve production of

20 confidential, proprietary, or private information for which special protection from public

21 disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

22 Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated

23 Protective Order. The parties acknowledge that this Order does not confer blanket protections on

24 all disclosures or responses to discovery and that the protection it affords from public disclosure

25 and use extends only to the limited information or items that are entitled to confidential treatment

26 under the applicable legal principles. The parties further acknowledge, as set forth in Section 12.3,

27 below, that this Stipulated Protective Order does not entitle them to file confidential information

28

                                                                                Case No. 5:22-cv-00641-BLF
                                     STIPULATED PROTECTIVE ORDER
         Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 2 of 13




 1 under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards

 2 that will be applied when a party seeks permission from the court to file material under seal.

 3 II.      DEFINITIONS

 4          2.1     Challenging Party: a Party or Non-Party that challenges the designation of

 5 information or items under this Order.

 6          2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

 7 generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

 8 of Civil Procedure 26(c).

 9          2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as
10 well as their support staff).

11          2.4     Designating Party: a Party or Non-Party that designates information or items that it

12 produces in disclosures or in responses to discovery as “CONFIDENTIAL.”

13          2.5     Disclosure or Discovery Material: all items or information, regardless of the

14 medium or manner in which it is generated, stored, or maintained (including, among other things,

15 testimony, transcripts, and tangible things), that are produced or generated in disclosures or

16 responses to discovery in this matter.

17          2.6     Expert: a person with specialized knowledge or experience in a matter pertinent to

18 the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

19 consultant in this action.

20          2.7     House Counsel: attorneys who are employees of a party to this action. House

21 Counsel does not include Outside Counsel of Record or any other outside counsel.

22          2.8     Non-Party: any natural person, partnership, corporation, association, or other legal

23 entity not named as a Party to this action.

24          2.9     Outside Counsel of Record: attorneys who are not employees of a party to this

25 action but are retained to represent or advise a party to this action and have appeared in this action

26 on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.

27          2.10    Party: any party to this action, including all of its officers, directors, employees,

28 consultants, retained experts, and Outside Counsel of Record (and their support staffs).

                                                       -2-                        Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
          Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 3 of 13




 1           2.11   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

 2 Material in this action.

 3           2.12   Professional Vendors: persons or entities that provide litigation support services

 4 (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

 5 organizing, storing, or retrieving data in any form or medium) and their employees and

 6 subcontractors.

 7           2.13   Protected Material: any Disclosure or Discovery Material that is designated as

 8 “CONFIDENTIAL.”

 9           2.14   Receiving Party: a Party that receives Disclosure or Discovery Material from a
10 Producing Party.

11 III.      SCOPE

12           The protections conferred by this Stipulation and Order cover not only Protected Material

13 (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

14 all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

15 conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

16 However, the protections conferred by this Stipulation and Order do not cover the following

17 information: (a) any information that is in the public domain at the time of disclosure to a

18 Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as a

19 result of publication not involving a violation of this Order, including becoming part of the public

20 record through trial or otherwise; and (b) any information known to the Receiving Party prior to

21 the disclosure or obtained by the Receiving Party after the disclosure from a source who obtained

22 the information lawfully and under no obligation of confidentiality to the Designating Party. Any

23 use of Protected Material at trial shall be governed by a separate agreement or order.

24 IV.       DURATION

25           Even after final disposition of this litigation, the confidentiality obligations imposed by this

26 Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

27 otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims

28 and defenses in this action, with or without prejudice; and (2) final judgment herein after the

                                                       -3-                        Case No. 5:22-cv-00641-BLF
                                       STIPULATED PROTECTIVE ORDER
        Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 4 of 13




 1 completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,

 2 including the time limits for filing any motions or applications for extension of time pursuant to

 3 applicable law.

 4 V.       DESIGNATING PROTECTED MATERIAL

 5          5.1     Exercise of Restraint and Care in Designating Material for Protection: Each Party

 6 or Non-Party that designates information or items for protection under this Order must take care to

 7 limit any such designation to specific material that qualifies under the appropriate standards. The

 8 Designating Party must designate for protection only those parts of material, documents, items, or

 9 oral or written communications that qualify – so that other portions of the material, documents,
10 items, or communications for which protection is not warranted are not swept unjustifiably within

11 the ambit of this Order.

12          Mass, indiscriminate, or routinized designations are prohibited. Designations that are
13 shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

14 unnecessarily encumber or retard the case development process or to impose unnecessary

15 expenses and burdens on other parties) expose the Designating Party to sanctions.

16          If it comes to a Designating Party’s attention that information or items that it designated

17 for protection do not qualify for protection, that Designating Party must promptly notify all other

18 Parties that it is withdrawing the mistaken designation.

19          5.2     Manner and Timing of Designations: Except as otherwise provided in this Order

20 (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

21 Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

22 designated before the material is disclosed or produced.

23          Designation in conformity with this Order requires:

24                  (a)    For information in documentary form (e.g., paper or electronic documents,

25 but excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

26 Party affix the legend “CONFIDENTIAL” to each page that contains protected material. If only a

27 portion or portions of the material on a page qualifies for protection, the Producing Party also must

28 clearly identify the protected portion(s) (e.g., by making appropriate markings in the margins). A

                                                     -4-                        Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
        Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 5 of 13




 1 Party or Non-Party that makes original documents or materials available for inspection need not

 2 designate them for protection until after the inspecting Party has indicated which material it would

 3 like copied and produced. During the inspection and before the designation, all of the material

 4 made available for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has

 5 identified the documents it wants copied and produced, the Producing Party must determine which

 6 documents, or portions thereof, qualify for protection under this Order. Then, before producing the

 7 specified documents, the Producing Party must affix the “CONFIDENTIAL” legend to each page

 8 that contains Protected Material. If only a portion or portions of the material on a page qualifies

 9 for protection, the Producing Party also must clearly identify the protected portion(s) (e.g., by
10 making appropriate markings in the margins).

11                  (b)     for testimony given in deposition or in other pretrial or trial proceedings,
12 that the Designating Party identify on the record, before the close of the deposition, hearing, or

13 other proceeding, all protected testimony.

14                  (c)     for information produced in some form other than documentary and for any
15 other tangible items, that the Producing Party affix in a prominent place on the exterior of the

16 container or containers in which the information or item is stored the legend “CONFIDENTIAL.”

17 If only a portion or portions of the information or item warrant protection, the Producing Party, to

18 the extent practicable, shall identify the protected portion(s).

19          5.3     Inadvertent Failures to Designate: If timely corrected, an inadvertent failure to
20 designate qualified information or items does not, standing alone, waive the Designating Party’s

21 right to secure protection under this Order for such material. Upon timely correction of a

22 designation, the Receiving Party must make reasonable efforts to assure that the material is treated

23 in accordance with the provisions of this Order.

24 VI.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

25          6.1     Timing of Challenges: Any Party or Non-Party may challenge a designation of

26 confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

27 designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

28 burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

                                                      -5-                        Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
        Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 6 of 13




 1 challenge a confidentiality designation by electing not to mount a challenge promptly after the

 2 original designation is disclosed.

 3          6.2     Meet and Confer: The Challenging Party shall initiate the dispute resolution

 4 process by providing written notice of each designation it is challenging and describing the basis

 5 for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

 6 notice must recite that the challenge to confidentiality is being made in accordance with this

 7 specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in

 8 good faith and must begin the process by conferring directly (in voice to voice dialogue; other

 9 forms of communication are not sufficient) within 14 days of the date of service of notice. In
10 conferring, the Challenging Party must explain the basis for its belief that the confidentiality

11 designation was not proper and must give the Designating Party an opportunity to review the

12 designated material, to reconsider the circumstances, and, if no change in designation is offered, to

13 explain the basis for the chosen designation. A Challenging Party may proceed to the next stage of

14 the challenge process only if it has engaged in this meet and confer process first or establishes that

15 the Designating Party is unwilling to participate in the meet and confer process in a timely

16 manner.

17          6.3    Judicial Intervention: If the Parties cannot resolve a challenge without court
               the Parties must submit the dispute in accordance with Judge van Keulen's Civil and
18 intervention, the Designating Party shall file and serve a motion to retain confidentiality under
   Discovery Referral Matters Standing Order
19 Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 21 days of

20 the initial notice of challenge or within 14 days of the parties agreeing that the meet and confer
                                                             submission must affirm that the
21 process will not resolve their dispute, whichever is earlier. Each such motion must be
   Parties have
22 accompanied by a competent declaration affirming that the movant has complied with the meet

23 and confer requirements imposed in the preceding paragraph. Failure by the Designating Party to
                     submission
24 make such a motion including the required declaration within 21 days (or 14 days, if applicable)

25 shall automatically waive the confidentiality designation for each challenged designation. In
   initiate a submission in accordance with Judge van Keulen's standing order
26 addition, the Challenging Party may file a motion challenging a confidentiality designation at any

27 time if there is good cause for doing so, including a challenge to the designation of a deposition
                                             submission
28 transcript or any portions thereof. Any motion brought pursuant to this provision must be

                                                     -6-                        Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
        Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 7 of 13



   affirm that the Parties have
 1 accompanied by a competent declaration affirming that the movant has complied with the meet

 2 and confer requirements imposed by the preceding paragraph.

 3          The burden of persuasion in any such challenge proceeding shall be on the Designating

 4 Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

 5 unnecessary expenses and burdens on other parties) may expose the Challenging Party to

 6 sanctions. Unless the Designating Party has waived the confidentiality designation by failing to
   initiate a joint submission
 7 file a motion to retain confidentiality as described above, all parties shall continue to afford the

 8 material in question the level of protection to which it is entitled under the Producing Party’s

 9 designation until the court rules on the challenge.
10 VII.     ACCESS TO AND USE OF PROTECTED MATERIAL
11          7.1     Basic Principles: A Receiving Party may use Protected Material that is disclosed or

12 produced by another Party or by a Non-Party in connection with this case only for prosecuting,

13 defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to

14 the categories of persons and under the conditions described in this Order. When the litigation has

15 been terminated, a Receiving Party must comply with the provisions of section 13 below (FINAL

16 DISPOSITION).

17          Protected Material must be stored and maintained by a Receiving Party at a location and in

18 a secure manner that ensures that access is limited to the persons authorized under this Order.

19          7.2     Disclosure of “CONFIDENTIAL” Information or Items: Unless otherwise ordered

20 by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

21 information or item designated “CONFIDENTIAL” only to:

22                  (a)    the Receiving Party’s Outside Counsel of Record in this action, as well as

23 employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

24 information for this litigation and who have signed the “Acknowledgment and Agreement to Be

25 Bound” that is attached hereto as Exhibit A;

26                  (b)    the officers, directors, and employees (including House Counsel) of the

27 Receiving Party to whom disclosure is reasonably necessary for this litigation and who have

28 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

                                                      -7-                        Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
        Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 8 of 13




 1                  (c)    Experts (as defined in this Order) of the Receiving Party to whom

 2 disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment

 3 and Agreement to Be Bound” (Exhibit A);

 4                  (d)    the court and its personnel;

 5                  (e)    court reporters and their staff, professional jury or trial consultants, mock

 6 jurors, and Professional Vendors to whom disclosure is reasonably necessary for this litigation and

 7 who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

 8                  (f)    during their depositions, witnesses in the action to whom disclosure is

 9 reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
10 (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of

11 transcribed deposition testimony or exhibits to depositions that reveal Protected Material must be

12 separately bound by the court reporter and may not be disclosed to anyone except as permitted

13 under this Stipulated Protective Order.

14                  (g)    the author or recipient of a document containing the information or a
15 custodian or other person who otherwise possessed or knew the information.

16 VIII.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER
17          LITIGATION

18          If a Party is served with a subpoena or a court order issued in other litigation that compels

19 disclosure of any information or items designated in this action as “CONFIDENTIAL,” that Party

20 must:

21                  (a)    promptly notify in writing the Designating Party. Such notification shall

22 include a copy of the subpoena or court order;

23                  (b)    promptly notify in writing the party who caused the subpoena or order to

24 issue in the other litigation that some or all of the material covered by the subpoena or order is

25 subject to this Protective Order. Such notification shall include a copy of this Stipulated Protective

26 Order; and

27                  (c)    cooperate with respect to all reasonable procedures sought to be pursued by

28 the Designating Party whose Protected Material may be affected.

                                                     -8-                         Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
        Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 9 of 13




 1          If the Designating Party timely seeks a protective order, the Party served with the subpoena

 2 or court order shall not produce any information designated in this action as “CONFIDENTIAL”

 3 before a determination by the court from which the subpoena or order issued, unless the Party has

 4 obtained the Designating Party’s permission. The Designating Party shall bear the burden and

 5 expense of seeking protection in that court of its confidential material – and nothing in these

 6 provisions should be construed as authorizing or encouraging a Receiving Party in this action to

 7 disobey a lawful directive from another court.

 8 IX.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

 9          LITIGATION
10                  (a)      The terms of this Order are applicable to information produced by a Non-

11 Party in this action and designated as “CONFIDENTIAL.” Such information produced by Non-

12 Parties in connection with this litigation is protected by the remedies and relief provided by this

13 Order. Nothing in these provisions should be construed as prohibiting a Non-Party from seeking

14 additional protections.

15                  (b)      In the event that a Party is required, by a valid discovery request, to produce

16 a Non-Party’s confidential information in its possession, and the Party is subject to an agreement

17 with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

18                           (1)    promptly notify in writing the Requesting Party and the Non-Party

19 that some or all of the information requested is subject to a confidentiality agreement with a Non-

20 Party;

21                           (2)    promptly provide the Non-Party with a copy of the Stipulated

22 Protective Order in this litigation, the relevant discovery request(s), and a reasonably specific

23 description of the information requested; and

24                           (3)    make the information requested available for inspection by the Non-

25 Party.

26                  (c)      If the Non-Party fails to object or seek a protective order from this court

27 within 14 days of receiving the notice and accompanying information, the Receiving Party may

28 produce the Non-Party’s confidential information responsive to the discovery request. If the Non-

                                                       -9-                        Case No. 5:22-cv-00641-BLF
                                       STIPULATED PROTECTIVE ORDER
        Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 10 of 13




 1 Party timely seeks a protective order, the Receiving Party shall not produce any information in its

 2 possession or control that is subject to the confidentiality agreement with the Non-Party before a

 3 determination by the court. Absent a court order to the contrary, the Non-Party shall bear the

 4 burden and expense of seeking protection in this court of its Protected Material.

 5 X.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

 6          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

 7 Material to any person or in any circumstance not authorized under this Stipulated Protective

 8 Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

 9 unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected
10 Material, (c) inform the person or persons to whom unauthorized disclosures were made of all the

11 terms of this Order, and (d) request such person or persons to execute the “Acknowledgment and

12 Agreement to Be Bound” that is attached hereto as Exhibit A.

13 XI.      INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED
14          MATERIAL

15          When a Producing Party gives notice to Receiving Parties that certain inadvertently

16 produced material is subject to a claim of privilege or other protection, the obligations of the

17 Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This

18 provision is not intended to modify whatever procedure may be established in an e-discovery order

19 that provides for production without prior privilege review. Pursuant to Federal Rule of Evidence

20 502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure of a

21 communication or information covered by the attorney-client privilege or work product protection,

22 the parties may incorporate their agreement in the stipulated protective order submitted to the

23 court.

24 XII.     MISCELLANEOUS

25          12.1    Right to Further Relief: Nothing in this Order abridges the right of any person to

26 seek its modification by the court in the future.

27          12.2    Right to Assert Other Objections: By stipulating to the entry of this Protective

28 Order no Party waives any right it otherwise would have to object to disclosing or producing any

                                                       -10-                     Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
       Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 11 of 13




 1 information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

 2 Party waives any right to object on any ground to use in evidence of any of the material covered

 3 by this Protective Order.

 4          12.3    Filing Protected Material: Without written permission from the Designating Party

 5 or a court order secured after appropriate notice to all interested persons, a Party may not file in

 6 the public record in this action any Protected Material. A Party that seeks to file under seal any

 7 Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be filed

 8 under seal pursuant to a court order authorizing the sealing of the specific Protected Material at

 9 issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a request
10 establishing that the Protected Material at issue is privileged, protectable as a trade secret, or

11 otherwise entitled to protection under the law. If a Receiving Party's request to file Protected

12 Material under seal pursuant to Civil Local Rule 79-5 is denied by the court, then the Receiving

13 Party may file the information in the public record pursuant to Civil Local Rule 79-5 unless

14 otherwise instructed by the court.

15 XIII.    FINAL DISPOSITION
16          Within 60 days after the final disposition of this action, as defined in paragraph 4, each

17 Receiving Party must return all Protected Material to the Producing Party or destroy such material.

18 As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

19 summaries, and any other format reproducing or capturing any of the Protected Material. Whether

20 the Protected Material is returned or destroyed, the Receiving Party must submit a written

21 certification to the Producing Party (and, if not the same person or entity, to the Designating Party)

22 by the 60 day deadline that (1) identifies (by category, where appropriate) all the Protected

23 Material that was returned or destroyed and (2) affirms that the Receiving Party has not retained

24 any copies, abstracts, compilations, summaries or any other format reproducing or capturing any

25 of the Protected Material. Notwithstanding this provision, Counsel are entitled to retain an archival

26 copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

27 correspondence, deposition and trial exhibits, expert reports, attorney work product, and

28 consultant and expert work product, even if such materials contain Protected Material. Any such

                                                      -11-                       Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
       Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 12 of 13




 1 archival copies that contain or constitute Protected Material remain subject to this Protective Order

 2 as set forth in Section 4.

 3 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 4

 5    DATED: ___09/29/2022__________                  /s/ Bryan H. Heckenlively
                                                      Attorney for Plaintiff Elizabeth Weiss
 6

 7

 8    DATED: ___09/29/2022__________                  /s/ Ethan W. Blevins
                                                      Attorney for Defendants Stephen Perez, et al.
 9
10

11 PURSUANT TO STIPULATION, IT IS SO ORDERED.

12

13            September 30, 2022
      DATED: ______________________
14                                                    Honorable Beth Labson Freeman
                                                      Honorable Susan van Keulen
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                    -12-                      Case No. 5:22-cv-00641-BLF
                                     STIPULATED PROTECTIVE ORDER
       Case 5:22-cv-00641-BLF Document 97 Filed 09/30/22 Page 13 of 13




 1                                               EXHIBIT A

 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3          I, _____________________________ [print or type full name], of _________________

 4 [print or type full address], declare under penalty of perjury that I have read in its entirety and

 5 understand the Stipulated Protective Order that was issued by the United States District Court for

 6 the Northern District of California on [date] in the case of Weiss v. Perez, et al., Case No. 5:22-cv-

 7 00641-BLF.

 8          I agree to comply with and to be bound by all the terms of this Stipulated Protective Order

 9 and I understand and acknowledge that failure to so comply could expose me to sanctions and
10 punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner

11 any information or item that is subject to this Stipulated Protective Order to any person or entity

12 except in strict compliance with the provisions of this Order.

13          I further agree to submit to the jurisdiction of the United States District Court for the
14 Northern District of California for the purpose of enforcing the terms of this Stipulated Protective

15 Order, even if such enforcement proceedings occur after termination of this action.

16          I hereby appoint __________________________ [print or type full name] of
17 _______________________________________ [print or type full address and telephone number]

18 as my California agent for service of process in connection with this action or any proceedings

19 related to enforcement of this Stipulated Protective Order.

20

21 Date: ______________________________________

22 City and State where sworn and signed: _________________________________

23

24 Printed name: _______________________________

25

26 Signature: __________________________________

27

28

                                                      -1-                        Case No. 5:22-cv-00641-BLF
                                      STIPULATED PROTECTIVE ORDER
